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                                                           U.S. DISTRICT COURT E.D.N.Y.                                                                                      ,,


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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK                       BROOKLYN OFFICE
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        UNITED STATES OF AMERICA                           PRELIMINARY ORDER OF
                                                           FORFEITURE
               - against -
                                                           17-CR-I55(S-1)(DLI)
        NICHOLAS FESTA,

                                 Defendant.

                                                      X


                     WHEREAS,on or about March 8, 2018, NICHOLAS FESTA (the
        defendant ), entered a plea ofguilty to Count One ofthe above-captioned Superseding
      Indictment charging a violation of 18 U.S.C. § 1962(d) and, admited as racketeering acts his
      participation in extortionate extension and collection ofcredit as to John Doe #4 {as alleged
      in Racketeering Act Nineteen) and extortionate extension and collection of credit as to John
      Doe #13(as alleged in Rackeeteering Act Twenty-Three); and

                     WHEREAS,pursuant to 18 U.S.C. § 1963(a),the defendant has consented to

      the entry oif a forfeiture money judgment in the amount offive hundred thousand dollars and
      no cents($500,000,00)(the "Forfeiture Money Judgment"), which represents monies that the
      defendant received in financing, extending and collecting extortionate debt, as:(a)any
      interest that the defendant acquired or maintained in violation of 18 U.S.C, § 1962;(b)any
      property that the defendant has any interest in, security of, claims against, or property or
      contractual rights of any kind affording a source ofinfluence over the enterprise that the
      defendant established, operated, controlled, conducted and participated in tlie conduct of, in
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        violation of 18 U.S.C. § 1962;(c)any property tliat constitutes, or is derived from, any

        proceeds which the defendant obtained, directly or indirectly, from his racketeering activity,

        in violation of 18 U.S.C. § 1962; and/or(d)substistute assets in accordance with the

        provisions of 18 U.S.C. § 1963(m).

                      IT IS HEREBY ORDERED,ADJUDGED AND DECREED,on consent, by

       and between the United States and the defendant as follows:

                      1.     The defendant shall forfeit to the United States the full amount of the

       Forfeitur^ Money Judgment, pursuant to 18 U.S.C. §§ 1963(a)and 1963(m).
                      2.     All payments made towards the Forfeiture Money Judgment shall be

       made by a money order, or a certified or official bank check, payable to "United States

       Marshals Service" with the criminal docket number noted on the face of the check. The

       defendant shall cause said check($) to be delivered by overnight delivery to Assistant United

       States Attorney Brendan G. King United States Attorney's Office, Eastern District of New

       York, 271-A Cadman Plaza East, 7^ Floor, Brooklyn, New York 11201.

                     3.      The Forfeiture Money Judgment shall be paid as follows:(a)the

       defendant shall pay the sum of one hundred forty thousand dollars and zero cents

       ($140,00Q.00) towards the Forfeiture Money Judgment on or before the date of the

       defendant's sentencing (the "Initial Due Date"); and (b)the balance ofthe Forfeiture Money

       Judgment p the sum of three hundred and sixty thousand dollars($360,000.00),shall be paid
       in monthly installments ofone thousand dollars and zero cents($1,000.00) commencing on

       the first day of the sixth(6) month following the defendant's release from incarceration (the




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       "Final Due Date"),and on the first ofeach month thereafter until the Forfeiture Money
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       Judgment is fully satisfied.

                      4.     Upon entry of tliis Preliminary Order of Forfeiture ("Order"), the

       United States Attorney General or his designee is authorized to conduct any proper discovery

       in accordtince with Fed. R. Grim. P. 32.2(b)(3) and (c). The United States alone shall hold

       title to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following

       the Court's entry of the judgment of conviction.

                      5.    The defendant shall not file or interpose any claim or assist others to

       file or interpose any claim to any property against which the government seeks to execute the

       Forfeiture Money Judgment in any administrative or judicial proceeding. The defendant
                Ct,

      shall fully assist the government in effectuating the payment ofthe Forfeiture Money

      Judgment. Ifthe Forfeiture Money Judgment is not received as provided above, the

      defendant shall forfeit any other property of his up to the value ofthe outstanding balance,

      pursuant to 18 U.S.C. § 1963(m).

                      6.    The defendant knowingly and voluntarily waives his right to any

      required notice concerning the forfeiture ofthe monies and/or properties forfeited hereunder,

      including notice set forth in an indictment or information. In addition, the defendant

      knowingly and voluntarily waives his right, if any, to ajury trial on the forfeiture of said

      monies and/or properties, and waives all constitutional, legal and equitable defenses to the

      forfeiture ofsaid monies and/or properties, including, but not limited to, any defenses based

      on principles ofdouble jeopardy, the Ex Post Facto clause of the Constitution, the statute of




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        limitations, venue, or any defense under the Eighth Amendment,including a claim of

        excessive fines.

                      7.     The entry and payment ofthe Forfeiture Money Judgment is not to be

        considered a payment of a fine, penalty, restitution loss amount or a payment of any income

        taxes that may be due and shall survive bankruptcy.

                      8.     Pursuant to Fed. R. Crira. P. 32.2(b)(4)(A) and (B), this Order shall

        become final as to the defendant at the time ofsentencing tind shall be made part of the

       sentence and included in the judgment ofconviction. This Order shall become the Final

       Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). At that time, the properties

       forfeited herein shall be forfeited to the United States for disposition in accordance with the
       law.


                     9.      This Order shall be binding upon the defendant and the successors,

       administrators, heirs, assigns and transferees of the defendant, and shall survive the

       bankruptcy ofany ofthem.

                     10.     This Order shall be final and binding only upon the Court's "so

       ordering" of the Order.




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                      11.         The Court shall retain jurisdiction over tills action to enforce

        compliance with the terms ofthis Order and to amend it as necessaiy, pursuant to Fed. R.

        Grim. P. 32.2(e).

        Dated: Brooklyn, New York
                  J-7 • . 2018

                                                           SO ORDERED;              ,I/JloLs.^-ta.   -C)
                                                            /s/ Dora L. Irizarr)*

                                                           HONORABLE DOR^.IRIMRRY
                                                       CHIEF UNITED CTATBS DISTRICT JUDGE
                                                       EASTERN DISTRICT OF NEW YORK




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